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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 06-60350-CR-COHN/SELTZER

  UNITED STATES OF AMERICA,

  v.

  PROSPERE VERNET,

             Defendant.
  ____________________________/

                        ORDER DENYING DEFENDANT VERNET’S
                           REQUEST TO MODIFY SENTENCE

         THIS CAUSE is before the Court upon Defendant Prospere Vernet’s Letter

  Requesting a Modification of his Sentence [DE 740]. The Court has considered the

  request, the Government’s response [DE 749], and is otherwise fully advised in the

  premises.1

         Mr. Vernet asserts that the Court erred in granting a four level leadership role

  enhancement and that he provided substantial assistance in the prosecution of Mr.

  Alain Desir.

         As to the role enhancement, the Court is clearly without jurisdiction, as Mr.

  Vernet was sentenced on September 28, 2007, and the time for appealing the sentence

  has passed, as has the time for filing a motion under 28 U.S.C. § 2255. With respect to

  Mr. Vernet’s cooperation and assistance in the prosecution of Alain Desir, the decision

  to file a motion pursuant to Federal Rule of Criminal Procedure 35(b) rests within the

  sound discretion of the government. The Court may only compel the government to file

  a Rule 35(b) motion based on substantial assistance in two circumstances: (1) when


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                 Mr. Vernet has not filed a reply, and the time for doing so has passed.
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  the government’s refusal to do so results from an unconstitutional motivation; or (2)

  where the defendant’s plea agreement contains an explicit government promise to file a

  substantial assistance motion. See Wade v. United States, 504 U.S. 181 (1992);

  United States v. Nealy, 232 F.3d 825 (11th Cir. 2000). Mr. Vernet has failed to prove

  either circumstance. In addition, the time limitation for filing a Rule 35(b) motion has

  expired. Therefore, the Court is without jurisdiction to reduce Mr. Vernet’s sentence on

  this ground.

         Accordingly, it is thereupon

         ORDERED AND ADJUDGED that Defendant Prospere Vernet’s Request to

  Modify Sentence [DE 740] is hereby DENIED.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

  Florida, on this 29th day of June, 2012.




  Copies provided to:
  Counsel of record via CM/ECF




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